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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    SEAN RIORDAN, Bar #255752
     Assistant Federal Defender
3    Office of the Federal Defender
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     sean riordan@fd.org
5    Telephone: (916) 498-5700
6    Requesting Appointment for
     CANDY WU
7
8
9                               IN THE UNITED STATES DISTRICT COURT
10                           FOR THE EASTERN DISTRICT OF CALIFORNIA
11
      UNITED STATES OF AMERICA,                )        Case №:2:08-cr-00064- MCE
12                                             )
                      Plaintiff,               )        ORDER
13                                             )        APPOINTING COUNSEL
              vs.                              )
14                                             )
      CANDY WU,                                )
15                                             )        Judge: Kendall J. Newman
                      Defendant.               )
16                                             )
17           CANDY WU, through the Federal Defender for the Eastern District of California, hereby
18
     requests the Office of the Federal Defender be appointed as counsel.
19
             Ms. Wu contacted the Federal Defender’s Office seeking assistance with the exoneration
20
     of an appearance bond from her closed criminal case (2:08-cr-64 MCE) that is secured by real
21
22   property. Ms. Wu’s former retained counsel from her criminal case failed to seek exoneration of

23   that bond. The Federal Defender’s Office received a financial affidavit indicating Ms. Wu
24   qualifies for appointed counsel. The Federal Defender’s Office respectfully requests
25
     appointment to represent Ms. Wu.
26
     ///
27
     ///
28

     Application for and Proposed Order
     Appointing Counsel                             1
      Case 2:08-cr-00064-MCE Document 232 Filed 01/28/15 Page 2 of 2


1    DATED: January 27, 2015
                                                  Respectfully submitted,
2
                                                  HEATHER E. WILLIAMS
3                                                 Federal Defender
4                                                 /s/ Sean Riordan
                                                  SEAN RIORDAN
5                                                 Assistant Federal Defender
6
7
                                                  ORDER
8
             Upon Ms. Wu’s Application and the Federal Defender’s review of her Financial
9
10   Affidavit, having satisfied the Court that she is unable to employ counsel,

11           IT IS HEREBY ORDERED that the Federal Defenders Office is appointed as counsel for

12   representation pursuant to 18 U.S.C. § 3006A.
13
     Dated: January 28, 2015
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     Application for and Proposed Order
     Appointing Counsel                               2
